                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:00-CR-169-6-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )                    ORDER
 CHARLES STEPHEN PROPST,                           )
                                                   )
                 Defendant.                        )
                                                   )

       Defendant’s motion for reconsideration is DENIED for the same reasons set forth in the

Court’s original denial of his § 3582(c)(2) motion for sentence reduction. Given the statutory

mandatory life sentence applicable to this Defendant (prior to any departures), any further reduction

in sentence is foreclosed by the Fourth Circuit’s decision in United States v. Hood, 556 F.3d 226 (4th

Cir. 2009).

       IT IS SO ORDERED.

                                                  Signed: April 23, 2009




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